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TEL. (408) 275-1290 FAX 275-1396
Attomey for Defendant DEP "" FIN:A
GUADALUPE BARRON “"C

lN THE UNITED STATES DISTRICT COURT
EAS'I`ERN DISTRICT OF CALIFORNIA

UNITED sTATES oF ) No.: 06-CR-247 AWI
AMERICA, ) sTrPULATIoN AND
Plaimiff, ) PROPOSED
) ORDER FoR
vs. ) RECONVE¥ANCE oF
) REAL PROPER`TY
GUADALUPE BARRON, )
Defendant. )
)

 

FOR GOOD CAUSE APPEARING and based upon stipulation between the parties,
it is hereby ordered that the Deed of Trust recorded on July 17, 2006 between Ramon C.
Quintero and Maria Luisa Barron as trustors and Marianne Matherly (Clerk of U.S.
District Court) as beneficiary, regarding the real property located at 704 Bonneau Court,
Patterson, California, 95363, which Was executed and recorded for the sale purpose of
posting a property bond for Guadalupe Barron is ordered reeonveyed to Ramon C.
Quintero and l\/Iaria Luisa Barron. The basis for this order is that defendant’S horne
located at 532 Moray Way in Patterson, California Was the collateral utilized for

Guadalupe Barron’s property bond.

It is So stipulated

 

Ssistant U. S. Attorney

lt is so stipulated

 

Berndt lngo @:'rauer
Attorney for uadalupe Barron

 

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lt is so ordered

Dated f'lg'@€ W

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